        1          JAMES L. DAY (WSBA #20474)                        HONORABLE WHITMAN L. HOLT
                   LESLEY BOHLEBER (WSBA #49150)                     HEARING DATE: February 25, 2025
        2          BUSH KORNFELD LLP                                       HEARING TIME: 2:00 p.m.
                   601 UNION STREET, SUITE 5000                     RESPONSE DUE: At Time of Hearing
        3          SEATTLE, WA 98101                                          LOCATION: Telephonic
                   Tel: (206) 292-2110
        4          jday@bskd.com;
                   lbohleber@bskd.com
        5

        6                               UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF WASHINGTON
        7
                  In re                                          Chapter 11
        8
                  AMITY COURT LLC,                               Case No. 25-00240-WLH
        9
                                             Debtor.             NOTICE OF HEARING ON
       10                                                        EMERGENCY FIRST DAY MOTIONS

       11
                          PLEASE TAKE NOTICE that Amity Court LLC (the “Debtor”), debtor-in-
       12
                  possession in the above-captioned chapter 11 bankruptcy case, has filed with the court
       13
                  the following Emergency Motions (“Emergency Motions”):
       14

       15                 1. Debtor’s Emergency Motion for Order Approving Adequate Assurance to
                             Utilities (the “Utilities Motion”);
       16
                          2. Debtor’s Emergency Motion for Order (1) Authorizing Interim Use of Cash
       17                    Collateral, (2) Granting Adequate Protection, and (3) Setting Final Hearing (the
                             “Cash Collateral Motion”); and
       18
                          3. Debtor’s Emergency Motion for Order Authorizing Continued Use of
       19
                             Prepetition Bank Account and Checks (the “Bank Account Motion”).
       20                 PLEASE ALSO TAKE NOTICE that a hearing on the Emergency Motions will
       21         take place before the Honorable Whitman L. Holt on Tuesday, February 25, 2025, at
       22         2:00 p.m. PT via Teleconference as follows:
       23

                                                                                    B USH K ORN FELD L LP
                   NOTICE OF HEARING ON EMERGENCY                                            LAW OFFICES
                   FIRST DAY MOTIONS – Page 1                                           601 Union St., Suite 5000
                                                                                     Seattle, Washington 98101-2373
                                                                                        Telephone (206) 292-2110
                                                                                        Facsimile (206) 292-2104
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        1                      Phone Number: 1-877-402-9757
                               Access Code: 7036041
        2

        3               The Emergency Motions are on file with the above-captioned court, together

        4         with supporting documents. Any party desiring copies of the Emergency Motions may

        5         request the same from the Clerk of Court or from the undersigned counsel at

        6         lbohleber@bskd.com.

        7               If you object to approval of the Emergency Motions, you must file a written

        8         objection with the court no later than at the time of the hearing. If you do not timely

        9         file an objection, the court may enter orders granting approval of the Emergency

       10         Motions without further notice to you.

       11               DATED this 19th day of February, 2025.

       12                                                  BUSH KORNFELD LLP

       13
                                                           By /s/ Lesley Bohleber
       14                                                    James L. Day, WSBA #20474
                                                             Lesley Bohleber, WSBA #49150
       15                                                  Proposed Attorneys for Debtor-in-Possession

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       17

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                                                                                    B USH K ORN FELD L LP
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